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          EXHIBIT F
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Erwin Delacruz                                              December 2, 2019

                                                                      Page 1
                        UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF WASHINGTON
                                  AT TACOMA
     --------------------------------------------------------
       UGOCHUKWU GOODLUCK NWAUZOR,                 )
       FERNANDO AGUIRRE-URBINA,                    )
       individually and on behalf of all           )
       those similarly situated,                   )
                         Plaintiffs,               )
                 vs.                               ) No. 17-cv-05769-RJB
       THE GEO GROUP, INC., a Florida              )
       corporation,                                )
                         Defendant.                )
     --------------------------------------------------------
                                  Videotaped
                   Deposition Upon Oral Examination of
                              ERWIN K. DELACRUZ
     --------------------------------------------------------
                                   9:33 a.m.
                           Monday, December 2, 2019
                        1019 Regents Blvd., Suite 204
                             Fircrest, Washington




       REPORTED BY:      Keri A. Aspelund, RPR, CCR No. 2661


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                                                                      Page 2
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                                                                    Page 103
  1   would week -- or would work?
  2          A.    It's usually written in -- I -- I think it's
  3   written in there it's seven days a week.
  4          Q.    Is there a time clock for detainee workers to
  5   punch in and out of?
  6          A.    No, they -- when they in-process through the
  7   security officer or the desk officer, that's -- that means
  8   they're physically there, and then we turn in the -- like a
  9   time sheet to the lieutenant's office, and that's forwarded
 10   to the work program so they know that they're there.
 11          Q.    Okay.    And the desk officer, I've heard you
 12   mention that title a few times, is there a desk officer
 13   stationed in the kitchen, or is it someone in the pods?
 14          A.    It's another cook officer because there's three
 15   on each shift; so one cooking, one prepping, and one is a
 16   desk officer, or you can call him pod officer.
 17          Q.    All right.     So it's one cook supervisor
 18   supervising the cook?
 19          A.    Mm-hm.
 20          Q.    One cook supervisor supervising the food
 21   preparation?
 22          A.    Right.
 23          Q.    And then the third --
 24          A.    And the -- and the -- and the serving.
 25          Q.    And the serving?


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